    Case 22-11194-CMG Doc 47 Filed 01/18/23 Entered 01/18/23 16:49:44                             Desc Main
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                                                                            Order Filed on January 18, 2023
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                                                                            U.S. Bankruptcy Court
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   Kevin Golom                                              $GY1R

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4 Civic Center dr. #8
East Brunswick, NJ 08816



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